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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE: DEALER MANAGEMENT                             MDL No. 2817
SYSTEMS ANTITRUST LITIGATION                         Case No. 18-cv-00864

This Document Relates To:                            Hon. Rebecca R. Pallmeyer

THE DEALERSHIP CLASS ACTION


   DECLARATION OF PEGGY J. WEDGWORTH IN SUPPORT OF DEALERSHIP
 CLASS PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
 SETTLEMENT WITH DEFENDANT CDK GLOBAL, LLC AND FOR CONDITIONAL
           CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS
______________________________________________________________________________

      I Peggy J. Wedgworth, pursuant to 28 USC § 1746 declare as follows:

       1.     I am a senior partner at Milberg Coleman Bryson Grossman, PLLC. During the

pendency of this litigation, my firm has represented Dealership Class Plaintiffs (“Dealership

Plaintiffs”) in the above-captioned matter as Dealership Interim Lead Class Counsel and MDL

Co-Lead Counsel (“Lead Counsel”).

       2.     I respectfully submit this Declaration in support of Dealership Class Plaintiffs’

Motion for Preliminary Approval of Settlement with Defendant CDK Global, LLC (“CDK”) and

for Conditional Certification of the Proposed Settlement Class, filed contemporaneously

herewith.

       3.     I make this Declaration based on my personal knowledge and if called as a witness,

I could and would competently testify as to the matters stated herein.

       4.     On behalf of Dealership Plaintiffs, I, along with partners from my firm, personally

conducted settlement negotiations with counsel for CDK in-person and telephonically over an
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extended period of time in the latter part of 2023 with no agreement reached. Settlement

negotiations resumed following the class certification hearing held on July 2, 2024, and a

settlement agreement in principle was reached on July 12, 2024. The parties’ counsel executed

the proposed Settlement Agreement on August 15, 2024. Dealership Class counsel and CDK

counsel, all highly experienced and capable attorneys, vigorously advocated their respective

clients’ positions throughout the settlement negotiations. There was no collusion among counsel

for the parties at any time during these negotiations. To the contrary, the negotiations were

contentious, hard-fought and fully informed. In engaging in these settlement discussions, counsel

for Dealership Plaintiffs were focused on obtaining the greatest monetary benefit possible from

CDK on behalf of the Class, concluding the lawsuit and establishing a fair and final resolution

for all involved.

       5.     A true and correct copy of the Settlement Agreement between the Dealership Class

and CDK, fully executed on August 15, 2024, is attached to this Declaration as Exhibit A.

       6.     As part of the Settlement, CDK has agreed to pay settlement consideration of $100

million and $250,000 towards notice and claims administration costs into an escrow account, for

the benefit of Dealership Plaintiffs, no later than thirty (30) days after the Court’s preliminary

approval of the Settlement. Dealership Plaintiffs previously settled with Defendant The Reynolds

and Reynolds Company (“Reynolds”) for $29.5 million (“Reynolds Settlement”) and the Court

granted final approval of the Reynolds Settlement on January 23, 2019 (ECF No. 502). The

Reynolds Settlement funds have been in an interest-bearing escrow account since that time, and

the claims submission and distribution process will include both the CDK and Reynolds

Settlement funds. The Reynolds Settlement and the CDK Settlement bring the total amount

recovered by Dealership Plaintiffs to $129.5 million, plus interest.



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       7.     The proposed CDK Settlement Class consists of all persons and entities located in

the United States engaged in the business of the retail sale of automobiles who purchased DMS

from CDK and/or Reynolds, or any predecessor, successor, subsidiary, joint venture or affiliate,

during the period September 1, 2013 through August 15, 2024. Excluded from the CDK

Settlement Class are Defendants, including any entity or division in which any Defendant has a

controlling interest, as well as Defendants’ joint ventures, subsidiaries, affiliates, assigns, and

successors.

       8.     The CDK Settlement follows extensive, protracted arm’s-length negotiations

between the parties. Dealership Plaintiffs’ counsel, having spent tens of thousands of hours over

almost seven years advancing Dealership Plaintiffs’ claims, was well-informed of the facts and

the benefits, and risks and consequences of the proposed Settlement with CDK. Counsel

thoroughly evaluated the strengths and weaknesses of the parties’ respective litigation positions

in relation to the Settlement through investigation, discovery, research, motion practice and

settlement discussions, as well as balanced the value of Dealership Plaintiffs’ claims against the

substantial risks and expense of continuing litigation and trial (which was scheduled for

September 2024), as well as potential post-trial appeals.

       9.     Lead Counsel filed this case in this matter on October 19, 2017 and have litigated

extensively over almost seven years to develop facts, economic theories, and models for class-

wide damages. Discovery in this case has been considerable and far-reaching. Class Counsel

negotiated discovery protocols and search terms and reviewed over 1.2 million documents. Class

Counsel took or defended over one hundred depositions, including those of Defendants’ then

CEO’s, employees and numerous expert witnesses, and subpoenaed at least thirty non-parties for

data and information (taking several of their depositions). Class Representatives produced over



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81,000 documents and almost all were deposed. There were multiple rounds of interrogatories

and requests for production on both sides, as well as extensive motion practice, including

discovery motions, summary judgment motions, a fully briefed and argued class certification

motion and Daubert challenges. Prior to the parties settling, Dealership Plaintiffs’ motion for

class certification, the parties’ additional Daubert motions, and CDK’s motion pursuant to 28

U.S.C. § 1292 to certify for interlocutory appeal a portion of this Court’s summary judgment

decision, were pending.

       10.    Over my professional career, I have negotiated many settlements and prosecuted

numerous antitrust class actions as lead counsel or in other leadership positions. In my opinion,

the proposed Settlement with CDK is fair, reasonable, and adequate. The Settlement provides

substantial monetary recovery to the Class, and avoids the delay, uncertainty and expense of

continued litigation including the trial that was scheduled for September 2024 and any appeals.

       11.    Dealership Plaintiffs will continue to use the services of experienced class action

administrator, Epiq Class Action and Claims Solutions, Inc. (“Epiq”) to implement and administer

a notice program (“Notice Program”) for the CDK Settlement Class as well as the claims

submission and funds distribution process for Class Members in both the CDK and Reynolds

Settlement Classes. Epiq administered notice in the Reynolds settlement in 2018 and has been

maintaining    a   settlement    website    for       Dealership   Plaintiffs   since   that   time

(www.dealershipclassDMSsettlement.com), where periodic updates on the case are posted. The

details of the proposed Notice Program, which are even more robust than the notice program

approved by this Court for the Reynolds Settlement (ECF No. 432 at 5-6), are discussed in our

Motion and in the supporting Declaration of Epiq’s Senior Vice President and Director of Legal

Notice for Hilsoft Notifications, Cameron R. Azari, submitted contemporaneously herewith.



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       12.    Dealership Plaintiffs have and will continue to consult with the previously retained

expert economist, Dr. Michael Williams of Berkley Research Group, LLC, with regard to the

creation and implementation of the Allocation Plan as well as the distribution of proceeds from

both the CDK and Reynolds settlement funds. Dr. Williams has provided numerous expert reports

on behalf of the Dealership Class in this matter over the past six years.

       13.    A true and correct copy of the Allocation Plan is attached to this Declaration as

Exhibit B.

       14.    A true and correct copy of the Claim Form is attached to this Declaration as Exhibit

C.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed in Birmingham, Alabama this 16th day of August 2024.

                                             /s/ Peggy J. Wedgworth
                                             Peggy J. Wedgworth




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